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       U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
                       ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good
standing of this Court’
                      s general bar or be granted leave to appear pro hac vice as provided for
by Local Rules 83.12 through 83.14.

In the Matter of                                                           Case Number: 09 CR 1058
United States of America,
Plaintiff,
vs.
Rogelio Barajas,
Defendant.
AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
Rogelio Barajas




NAME (Type or print)
Robert L. Rascia
SIGNATURE (Use electronic signature if the appearance form is filed electronically)
           s/ Robert L. Rascia
FIRM
Rascia & DeCastro, Ltd.
STREET ADDRESS
650 N. Dearborn/Suite 700
CITY/STATE/ZIP
Chicago, IL 60654
ID NUMBER (SEE ITEM 3 IN INSTRUCTIONS)                  TELEPHONE NUMBER
6184470                                                 312-994-9100

ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE?                         YES   ✔          NO


ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE?                        YES              NO    ✔

ARE YOU A MEMBER OF THIS COURT’
                              S TRIAL BAR?                           YES   ✔          NO


IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY?                       YES   ✔   NO


IF THIS IS A CRIMINAL CASE, CHECK THE BOX BELOW THAT DESCRIBES YOUR STATUS.

RETAINED COUNSEL         ✔        APPOINTED COUNSEL
